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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                Plaintiff,                                      CASE NO. 1:18-CR-99
v.
                                                                HON. ROBERT J. JONKER
MARK ANDREW McMICHAEL,

                Defendant.
                                             /


                     ORDER SETTING FINAL PRETRIAL AND TRIAL

        IT IS ORDERED that jury selection and trial shall commence on July 17, 2018 at
8:30 a.m., in the United States District Court, Courtroom 699, Federal Building, 110 Michigan,
N.W., Grand Rapids, Michigan. Counsel and the parties shall be present in the courtroom at
8:30 a.m., to address preliminary matters.
        IT IS ORDERED that a final pretrial conference be held on June 29, 2018 at 4:00 p.m.,
in the United States District Court, Courtroom 699, Federal Building, 110 Michigan, N.W., Grand
Rapids, Michigan. Counsel who will try this case shall appear at the final pretrial conference. The
attendance of the defendant is required unless specifically waived.
        All pending motions shall be heard at the time of the final pretrial conference on June 29,
2018, unless otherwise notified by the Court.
        IT IS FURTHER ORDERED that at the final pretrial conference the parties shall:
        1. Discuss any legal issues, including motions in limine, or other evidentiary issues which
may arise during the course of trial.
        2. Enter into stipulations of uncontested facts.
        3. Submit a proposed preliminary jury instruction defining the nature of the alleged offense
and the elements of that offense.
        4.   Disclose the identity of all expert witnesses and agree, if possible, upon the
qualifications of expert witnesses.
        5. Agree, if possible, upon the admissibility of exhibits. The parties shall mark their
exhibits for identification prior to the final pretrial conference.
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            6. Advise the court of the number of witnesses expected to be called and estimated length
of trial.
            7. Submit proposed voir dire questions. During voir dire, the parties will not be permitted
to repeat questions asked on the jury questionnaire or questions asked by the Court.
            8. Review jury selection procedure.
            9. Submit trial briefs and discuss legal issues which may arise at the trial.
            10. Prior to the final pretrial conference, the parties shall meet and confer regarding jury
instructions. At the final pretrial conference, the parties must submit a joint set of jury instructions.
The parties must identify the instructions upon which they agree and disagree. The parties must
also submit a brief statement of the nature of any disputes relative to the jury instructions. This
Court uses the 6th Circuit Pattern Criminal Jury Instructions (West Publishing).
            11. If not previously made available to the other party, the government and defendant shall
make available to each other at the final pretrial conference pursuant to Fed. R. Evid. 1006 all
summaries which the party intends to introduce into evidence plus duplicates of the supporting
documents which have been summarized.
            A defendant who waits until the time set for the final pretrial conference to plead
guilty may or may not receive the one-level reduction in offense level described in U.S.S.G.
§ 3E1.1(b), even if the government is prepared to move for it. The Court will evaluate any
such motion from the government and consider all relevant factors, including the timing of
the plea, in deciding whether to grant or deny the government’s motion..




Dated: MayMay  21, 2018
          19, 2018                                 /s/ Robert J. Jonker______________________
                                                   ROBERT J. JONKER
                                                   CHIEF UNITED STATES DISTRICT JUDGE
